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 1       Name: Bryon Jackson, PRO SE
 2   Address: 1350 Marina Village Parkway # 433
 3                Alameda, California 94501
     Tel: (201) 776-4282
 4
     Email: zaqw1478@hotmail.com
 5

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 7                               UNITED STATES DISTRICT COURT

 8            NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
           BRYON JACKSON,                        )
 9
                        Plaintiff,               )
10
             V                                   ) Case No.: 3:21-cv-08458-LB
11                                               ) NOTICE TO ATTEND HEARING OR TRIAL
           TARGET CORPORATION,
12                      Defendant,               ) AND BRING DOCUMENTS

13
                                                 )

14
     TO PETITIONER/RESPONDENT/OTHER PARTY (circle one), David Roth & Gabriella
15
     Pedone(name) AND THEIR ATTORNEY OF RECORD:
16

17

18   NOTICE IS HEREBY GIVEN that Petitioner/Respondent/Other Party (circle one)
     Target Security Team Head is required to attend hearing or trial before the
19
     above-entitled Court, located in San Francisco - Videoconference Only, on
20   April 20, 2023 & Future Trial dates at 9:30am, in Dept. Courtroom B to
21   testify as a witness in this action.

22

23   Petitioner/Respondent/Other Party (circle one) has in their possession or
24   control the items listed below: (list the documents, papers, or written
     communications you want the other party to bring to court.)
25

26        1. NON-EDITED LIVE VIDEO TAPE (TAPED INSIDE THE STARBUCKS COFFEE SHOP-10
27           MINS BEFORE AND AFTER INCIDENT)______________________________________.
     -
28




                     NOTICE TO ATTEND HEARING OR TRIAL AND PRODUCE DOCUMENTS - 1
              Case 3:21-cv-08458-LB Document 71 Filed 04/09/23 Page 2 of 2



 1      2 . _______________________________________________________________________

 2
           ______________________________________________________________________.

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 4      3 . _______________________________________________________________________
           ______________________________________________________________________.
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 7

 8   Date: 04/08/2023

 9

10   _______________________________________________

11
      Name: Bryon Jackson, PRO SE

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                   NOTICE TO ATTEND HEARING OR TRIAL AND PRODUCE DOCUMENTS - 2
